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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 GIUSEPPE BETTIOL, derivatively on behalf
 of ENERGY TRANSFER LP,
                                                       Civil Action No. 3:19-cv-02890-X
               Plaintiff,
                                                       STIPULATION [AND PROPOSED
        v.
                                                       ORDER]
 LE GP LLC, KELCY L. WARREN,
 THOMAS E. LONG, JOHN W.
 MCREYNOLDS, MARSHALL S.
 MCCREA, III, MATTHEW S. RAMSEY,
 STEVEN R. ANDERSON, RICHARD D.
 BRANNON, RAY C. DAVIS, MICHAEL K.
 GRIMM, K. RICK TURNER, RAY W.
 WASHBURNE, AND WILLIAM P.
 WILLIAMS,

               Defendants,

        and

 ENERGY TRANSFER LP,

               Nominal Defendant.



                        STIPULATION [AND PROPOSED ORDER]

       WHEREAS, on December 7, 2019, Plaintiff Giuseppe Bettiol (“Bettiol”), derivatively and

on behalf of Energy Transfer LP (“Energy Transfer” or the “Company”) filed a Verified Unitholder

Derivative Complaint (the “Complaint”) against Defendants Kelcy L. Warren, Thomas E. Long,

John W. McReynolds, Marshall S. McCrea, III, Matthew S. Ramsey, Steven R. Anderson, Richard

D. Brannon, Ray C. Davis, Michael K. Grimm, K. Rick Turner, Ray W. Washburne, and William

P. Williams (collectively, the “Individual Defendants”) and Defendant LE GP, LLC (“LE GP” or




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the “General Partner,” and together with the Company and the Individual Defendants, the

“Defendants”) (the “Action”);

        WHEREAS, Bettiol and the Defendants have met and conferred regarding service of the

Complaint and a schedule for the action going forward;

        WHEREAS the Parties desire to have additional time to discuss an appropriate schedule

for this action;

        IT IS HEREBY STIPULATED AND AGREED by the Parties and their undersigned

counsel as follows:

             1. Without waiving any affirmative defenses and otherwise reserving all rights, the

                   Complaint in this Action shall be deemed served upon all Defendants;

             2. By February 7, 2020, the Parties will submit a proposed schedule for responding

                   to the Complaint in this Action and briefing any motions to dismiss that may be

                   filed; and

             3. All pre-trial deadlines that may apply in the Action (including any obligation of

                   Defendants to respond to the Complaint) shall be stayed until deadlines for such

                   filings are set by the Court following the Parties’ submission of a proposed

                   schedule on February 7, 2020.



SO ORDERED this ____ day of ________, 20__.




                                                       UNITED STATES DISTRICT JUDGE




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Respectfully submitted,




/s/ Jeffrey S. Johnston                 /s/ R. Dean Gresham
Michael C. Holmes                       R. Dean Gresham
Jeffrey S. Johnston                     STECKLER GRESHAM COCHRAN PLLC
VINSON & ELKINS LLP                     12720 Hillcrest Road, Suite 1045
Trammel Crow Center                     Dallas, Texas 75230
2001 Ross Avenue, Suite 3700            Tel: (972) 387-4040
Dallas, Texas 75201-2975                Fax: (972) 387-4041
Telephone: (214) 220-7700               Email: dean@stecklerlaw.com
mholmes@velaw.com
jjohnston@velaw.com                     Counsel for Plaintiff

Counsel for Defendants


/s/ Michael P. Lynn
Michael P. Lynn, P.C.
LYNN PINKER COX & HURST, LLP
2100 Ross Ave., Suite 2700
Dallas, Texas 75201
Telephone: 214.981.3801
Fax: 214.981.3839
mlynn@lynnllp.com

Counsel for Defendants




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